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                                                            Honorable Robert S. Lasnik




                    UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE


UNITED STATES OF AMERICA,                        NO. CR19-159-RSL

                   Plaintiff                     NOTICE OF CHANGE OF FIRM
                                                 NAME
                      v.

PAIGE A. THOMPSON,

                 Defendant.



       TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR

ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that the law firm of Baker Marquart LLP has changed

its firm name to Waymaker LLP, effective immediately. The firm’s address, telephone

number and facsimile number will remain the same. The firm’s email addresses have

been changed from bklein@bakermarquart.com to bklein@waymakerlaw.com.

       Please update your records to reflect this change.


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NOTICE OF CHANGE OF FIRM NAME
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       DATED this 25th day of January 2021.

                                              Respectfully submitted,

                                              /s/ Brian Klein
                                              Assistant Federal Public Defenders
                                              Brian Klein
                                              WAYMAKER LLP

                                              Attorneys for Paige Thompson




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